                      UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF TENNESSEE
                          NORTHEASTERN DIVISION



UNITED STATES OF AMERICA             ]
                                     ]
v.                                   ]          No. 2:11-00002-31
                                     ]          Judge Trauger
WILLIAM JEROME BURNS                 ]
     Defendant.                      ]



                                O R D E R


     The Court has before it a letter (Docket Entry No.1577) from

the defendant in which he expresses dissatisfaction with his

attorney’s representation.

     Because it appears that the defendant is questioning the

legality of a federal conviction, the Clerk is hereby directed to

send the defendant a blank § 2255 Motion to Vacate, Set Aside or

Correct Sentence.

     It is so ORDERED.




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                                         Aleta A. Trauger
                                         United States District Judge




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